                                                              United States Bankruptcy Court
                                                              Northern District of California
In re:                                                                                                                 Case No. 21-50405-HLB
Maximino Rodriguez                                                                                                     Chapter 13
Maria Evelia Rodriguez
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0971-5                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Apr 19, 2021                                               Form ID: 309I                                                             Total Noticed: 22
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 21, 2021:
Recip ID                 Recipient Name and Address
db/jdb                 + Maximino Rodriguez, Maria Evelia Rodriguez, 1074 Partridge Way, Salinas, CA 93905-6629
aty                      Robert P. Zahradka, Tiffany and Bosco, P.A., 1230 Columbia St. #680, San Diego, CA 92101-8502
reqntc                 + California Housing Finance Agency, Tiffany and Bosco P.A., 1455 Frazee Road, Suite 820, San Diego, CA 92108-4395
15285126               + Affinia Default Services, LLC, 301 E Ocean Blvd Suite 1720, Long Beach, CA 90802-8813
15285129               + CHISPA Community Housing Improvement Sys, 295 Main St Ste 100, Salinas, CA 93901-2742
15285128               + California Housing Finance Agency, c/o Dovenmuehle Mortgage, Inc., 1 Corporate Dr, Ste 360, Lake Zurich, IL 60047-8945
15287642               + California Housing Finance Agency, c/o Tiffany & Bosco, P.A., 1455 Frazee Road, Suite 820, San Diego, CA 92108-4395
15285130               + City of Salinas Community Development, 65 W Alisal St 2nd Floor, Salinas, CA 93901-2750
15285132               + Dovenmuehle Mortgage, Inc., 1 Corporate Dr. St 360, Lake Zurich, IL 60047-8945
15287643               + In Care of Dovenmuehle Mortgage, Inc., 1 Corporate Drive, Suite 360, Lake Zurich, IL 60047-8945
15285135               + Specialized Loan Servicing, 6200 S Quebec St, Greenwood Village, CO 80111-4720
15287641               + Tiffany & Bosco, P.A., 1455 Frazee Road, Suite 820, San Diego, CA 92108-4395

TOTAL: 12

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: evanmlivingstone@gmail.com
                                                                                        Apr 20 2021 01:59:00      Evan Livingstone, California Rural Legal
                                                                                                                  Assistance, Inc., 1160 N Dutton Ave, Ste 105,
                                                                                                                  95401, Santa Rosa, CA 95401
tr                        Email/Text: CTDOCS@CH13SJ.COM
                                                                                        Apr 20 2021 02:00:00      Devin Derham-Burk, P.O. Box 50013, San Jose,
                                                                                                                  CA 95150-0013
smg                       EDI: EDD.COM
                                                                                        Apr 20 2021 03:33:00      CA Employment Development Dept., Bankruptcy
                                                                                                                  Group MIC 92E, P.O. Box 826880, Sacramento,
                                                                                                                  CA 94280-0001
smg                       EDI: CALTAX.COM
                                                                                        Apr 20 2021 03:33:00      CA Franchise Tax Board, Attn: Special
                                                                                                                  Procedures, P.O. Box 2952, Sacramento, CA
                                                                                                                  95812-2952
smg                       EDI: CALTAXFEE
                                                                                        Apr 20 2021 03:33:00      State Board of Equalization, Attn: Special
                                                                                                                  Procedures Section, MIC:55, P.O. Box 942879,
                                                                                                                  Sacramento, CA 94279
smg                       EDI: IRS.COM
                                                                                        Apr 20 2021 03:33:00      IRS, P.O. Box 7346, Philadelphia, PA 19101-7346
ust                       Email/Text: ustpregion17.sj.ecf@usdoj.gov
                                                                                        Apr 20 2021 02:00:00      Office of the U.S. Trustee / SJ, U.S. Federal Bldg.,
                                                                                                                  280 S 1st St. #268, San Jose, CA 95113-3004
reqntc                 + EDI: RMSC.COM
                                                                                        Apr 20 2021 03:33:00      Synchrony Bank, c/o PRA Receivables
                                                                                                                  Management, LLC, P.O. Box 41021, Norfolk, VA
                                                                                                                  23541-1021
15285127               + EDI: BANKAMER.COM
                                                                                        Apr 20 2021 03:33:00      Bank of America, N.A., 2380 Performance Drive,
                                                                                                                  Richardson, TX 75082-4333
15285133                  EDI: CALTAX.COM
                                                                                        Apr 20 2021 03:33:00      Franchise Tax Board, Bankruptcy Section MS
                                                                                                                  A340, PO Box 2952, Sacramento, CA 95812-2952




           Case: 21-50405               Doc# 14           Filed: 04/21/21              Entered: 04/21/21 21:19:23                        Page 1 of 4
District/off: 0971-5                                               User: admin                                                            Page 2 of 2
Date Rcvd: Apr 19, 2021                                            Form ID: 309I                                                        Total Noticed: 22
TOTAL: 10


                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID           Bypass Reason Name and Address
15285131                         Debtor and Joint Debtor married
15285134           *             Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346

TOTAL: 1 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 21, 2021                                        Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 16, 2021 at the address(es) listed below:
Name                              Email Address
Devin Derham-Burk
                                  ctdocs@ch13sj.com

Evan Livingstone
                                  on behalf of Debtor Maximino Rodriguez evanmlivingstone@gmail.com evanlivingstone@ecf.courtdrive.com

Office of the U.S. Trustee / SJ
                                  USTPRegion17.SJ.ECF@usdoj.gov

Robert P. Zahradka
                                  on behalf of Requestor California Housing Finance Agency caecf@tblaw.com


TOTAL: 4




          Case: 21-50405               Doc# 14          Filed: 04/21/21           Entered: 04/21/21 21:19:23                     Page 2 of 4
              Debtors may request to receive Court notices and orders by email instead of U.S. mail. Sign Up at www.canb.uscourts.gov
Information to identify the case:

                       Maximino Rodriguez                                                      Social Security number or ITIN:      xxx−xx−6457
Debtor 1:
                                                                                               EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:              Maria Evelia Rodriguez                                                  Social Security number or ITIN:      xxx−xx−4378
(Spouse, if filing)                                                                            EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

United States Bankruptcy Court:     California Northern Bankruptcy Court                           Date case filed for chapter:            13       3/29/21

Case number:          21−50405

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                            12/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                        About Debtor 2:
1. Debtor's full name                              Maximino Rodriguez                                                     Maria Evelia Rodriguez

2. All other names used in the
   last 8 years
                                                   aka Maximino Rodriguez Caballero
                                                                                                                          aka Ma E. Espinoza de Rodriguez, aka Maria
                                                                                                                          E. Espinoza de Rodriguez

                                                   1074 Partridge Way                                                     1074 Partridge Way
3. Address                                         Salinas, CA 93905                                                      Salinas, CA 93905
                                                   Evan Livingstone                                                       Contact phone 707−206−6570
                                                   California Rural Legal Assistance, Inc.
4. Debtor's  attorney
   Name and address
                                                   1160 N Dutton Ave
                                                   Ste 105
                                                   95401
                                                   Santa Rosa, CA 95401

5. Bankruptcy trustee                              Devin Derham−Burk                                                      Contact phone (408) 354−4413
     Name and address                              P.O. Box 50013
                                                   San Jose, CA 95150−0013

6. Bankruptcy clerk's office                       Mailing Address:                                                       Hours open: Monday − Friday 9:00 am to 4:30
     Documents in this case may be filed           U.S. Bankruptcy Court                                                  pm
     at this address. You may inspect all          280 South First Street                                                 Contact phone (888) 821−7606
     records filed in this case online at          Room 3035
      pacer.uscourts.gov.                          San Jose, CA 95113                                                     Date: 4/19/21
                                                                                                                                  For more information, see page 2




Official Form 309I                                          Notice of Chapter 13 Bankruptcy Case                                                      page 1




     Case: 21-50405                      Doc# 14             Filed: 04/21/21                 Entered: 04/21/21 21:19:23                            Page 3 of 4
Debtor Maximino Rodriguez and Maria Evelia Rodriguez                                                                                                 Case number 21−50405 HLB 13

7. Meeting of creditors
    Debtors must attend the meeting to           May 19, 2021 at 09:45 AM                                                      Via Tele/Videoconference
    be questioned under oath. In a joint
    case, both spouses must attend.                                                                                           Trustee: Devin Derham−Burk
    Creditors may attend, but are not            The meeting may be continued or adjourned to a later                         Call in number/URL: 1−877−939−6323
    required to do so.                           date. If so, the date will be on the court docket.                           Passcode: 5069972
    Important Notice to Individual Debtors: The United States Trustee requires all debtors who are individuals to provide government−issued photo identification and proof
    of social security number to the trustee at the meeting of creditors. If a debtor fails to appear, your case may be dismissed without further notice.

8. Deadlines                                      Deadline to file a complaint to challenge                                            Filing deadline: 7/19/21
   The bankruptcy clerk's office must             dischargeability of certain debts: You must file:
   receive these documents and any
   required filing fee by the following           • a motion if you assert that the debtors are not
   deadlines.                                        entitled to receive a discharge under U.S.C. §
                                                     1328(f),
                                                     or
                                                  • a complaint if you want to have a particular
                                                     debt excepted from discharge under 11
                                                     U.S.C. § 523(a)(2) or (4).
                                                  Deadline for all creditors to file a proof of claim                                  Filing deadline: 6/7/21
                                                  (except governmental units):
                                                  Deadline for governmental units to file a proof of                                   Filing deadline: 9/27/21
                                                  claim:
   For a bankruptcy case pending in
   the Northern District of California,
   a Proof of Claim may be filed        Deadlines for filing proof of claim:
   electronically online at              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
   www.canb.uscourts.gov In the          www.uscourts.gov or any bankruptcy clerk's office.
   Quick Links section, click on "File If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
   an Electronic Proof of Claim."       a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                        Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                        claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                        For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                        including the right to a jury trial.


                                                  Deadline to object to exemptions:                                                    Filing deadline:     30 days after the
                                                  The law permits debtors to keep certain property as exempt. If you                                        conclusion of the
                                                  believe that the law does not authorize an exemption claimed, you                                         meeting of creditors
                                                  may file an objection.

9. Filing of plan, Hearing on                     If the debtor has already filed a proper Chapter 13 Plan, the Plan is enclosed. If the debtor has not yet filed a
   Plan Confirmation                              proper Chapter 13 Plan, the Plan will be sent separately. The hearing on confirmation will be held:
                                                  6/2/21 at 11:00 AM , Location: Via Tele/Videoconference, www.canb.uscourts.gov/calendars
                                                  The case is subject to dismissal, without further notice, upon failure of the debtor to commence making
                                                  payments called for in the plan, not later than 30 days after the date of the filing of the plan or the order for relief,
                                                  whichever is earlier. At the confirmation hearing the court may dismiss or convert the case or continue the
                                                  hearing without prior notice upon a determination the debtor(s) is unable to present a feasible plan. Written
                                                  objections to confirmation of the plan must be filed with the court on or before the date stated above for the
                                                  Meeting of Creditors and served upon the trustee, Debtor(s), and Debtors' Attorney.
10. Creditors with a foreign                       If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                        extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                                   any questions about your rights in this case.
11. Filing a chapter 13                            Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                                according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                                   plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                                   the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                                   debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                                   court orders otherwise.
12. Exempt property                                The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                   distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                                   exempt. You may inspect that list at the bankruptcy clerk's office or online at pacer.uscourts.gov. If you believe
                                                   that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                             Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                                   a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                                   under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                                   debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                                   discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                                   bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                                   of any of their debts under 11 U.S.C. § 1328(f), you must file a motion by the deadline.




Official Form 309I                                             Notice of Chapter 13 Bankruptcy Case                                                              page 2




     Case: 21-50405                       Doc# 14               Filed: 04/21/21                    Entered: 04/21/21 21:19:23                               Page 4 of 4
